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                                        11
                                        12                        UNITED STATES DISTRICT COURT
F ENWICK & W ES T LLP




                                                                CENTRAL DISTRICT OF CALIFORNIA
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                                        15 MON CHERI BRIDALS, LLC and               Case No.: 2:18-cv-09453-MWF-AS
                                           MAGGIE SOTTERO DESIGNS, LLC,
                                        16                                          DEFENDANT CLOUDFLARE,
                                                           Plaintiffs,              INC.’S REPLY IN SUPPORT OF
                                        17                                          MOTION TO TRANSFER CASE
                                                 v.
                                        18                                          Date:     March 4, 2019
                                           CLOUDFLARE, INC., a Delaware             Time:     10:00 a.m.
                                        19 corporation; and DOES 1-10, inclusive,   Ctrm.:    5A
                                                                                    Judge:    Hon. Michael W. Fitzgerald
                                        20                  Defendant.
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                                         1            The plaintiffs concede the threshold criterion for transfer of the case: they
                                         2 could have brought this case in the Northern District of California, where
                                         3 Cloudflare asks this Court to send the case. Dkt. 26 (“Opp.”) at 5:7-8.
                                         4            Once the threshold criterion is satisfied, as it has been in this case, in
                                         5 deciding motions to transfer venue, the courts use their broad discretion based on
                                         6 (1) the convenience of the parties, (2) the convenience of the witnesses, and (3) the
                                         7 interests of justice. Missing from the plaintiffs’ opposition is any fact related to
                                         8 these factors which suggests that this District is preferable to the Northern District
                                         9 for either party, for any witness, or in the interests of justice.
                                        10            While the plaintiffs also give lip service to the requirement that a court
                                        11 “adjudicate motions for transfer according to an ‘individualized, case-by-case
                                        12 consideration of convenience and fairness,’” Opp. at 4 (quoting Jones v. GNC
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                                        13 Franchising, Inc., 211 F.3d 495, 498-99 (9th Cir. 2000), in turn quoting Stewart
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                                        14 Org. v. Ricoh Corp., 487 U.S. 22, 29 (1988) (citation omitted)), they argue against
                                        15 such an individualized consideration by repeatedly referring to a closed case before
                                        16 Judge Wu, even though Judge Wu determined that this case is not related to that
                                        17 one. 1 They also distort the standard under section 1404(a) by suggesting that
                                        18 plaintiffs’ choice of forum prevails where neither plaintiffs nor the circumstances of
                                        19 the case have a substantial connection to the forum.
                                        20 I.         NUMEROUS DECISIONS, INCLUDING SEVERAL OF THIS
                                        21            COURT, RULED THAT PLAINTIFF’S CHOICE OF FORUM
                                        22            DESERVES MINIMAL CONSIDERATION.
                                        23            Plaintiffs ignore not only the circumstances specific to this case but also
                                        24   1
                                               The plaintiffs suggest that Cloudflare has waived the right to challenge
                                        25   convenience by participating in earlier litigation here. They are ignorant of the fact
                                             that the substantial additional expense of litigating here in the earlier case now leads
                                        26   Cloudflare to challenge this venue as inconvenient. The previous case, which
                                             settled on the eve of trial, involved substantial additional expense and disruption of
                                        27   employees beyond what a trial in its home District would involve. Plaintiffs’ use of
                                             this argument is also incongruous with the individualized, case-by-case standard
                                        28   that courts apply when analyzing motions to transfer cases.
                                                 CLOUDFLARE’S REPLY ISO MOTION TO          1               CASE NO. 2:18-CV-09453-MWF-AS
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                                         1 numerous decisions of this Court. In Nutrition Distribution LLC v. Lecheek
                                         2 Nutrition, Inc., No. 15-1322, 2015 WL 12659907 (C.D. Cal. June 5, 2015), the
                                         3 Court held that a plaintiff’s choice deserves only “minimal consideration” where
                                         4 the plaintiff is from outside the forum. The plaintiffs similarly failed to
                                         5 acknowledge Wireless Consumers Alliance, Inc. v. T-Mobile USA, Inc., No. 03-
                                         6 3711, 2003 WL 22387597 (N.D. Cal. Oct. 14, 2003), upon which this Court relied
                                         7 in Nutrition Distribution. In that case the court stated: “the transfer statute has a
                                         8 built-in mechanism to remedy the evils of forum shopping by giving little or no
                                         9 weight to the plaintiff's choice of forum away from home and without ties to the
                                        10 controversy.” Wireless Consumers Alliance, 2003 WL 22387598 at *5.
                                        11         In another decision, this Court, quoting yet another opinion of this District,
                                        12 reinforced that “the weight accorded to a plaintiff’s forum choice may be
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                                        13 discounted in ‘a variety of circumstances, including: when the party who has
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                                        14 selected the challenged forum does not reside there . . . and when the chosen forum
                                        15 lacks a significant connection to the activities alleged in the complaint.’” Free-
                                        16 Flow Packaging Int’l, Inc. v. Automated Packaging Sys., Inc., No. 17-6398, 2017
                                        17 WL 8941278, at *4 (C.D. Cal. Nov. 2, 2017) (emphasis added) (quoting Signal IP,
                                        18 Inc., v. Ford Motor Co., No. LA CV14-03106 JAK (JEMx), 2014 WL 4783537, at
                                        19 *3 (C.D. Cal. Sept. 25, 2014)). The Court observed that the plaintiff’s witnesses
                                        20 would have equivalent inconvenience in either court but the defendant’s witnesses
                                        21 would face significant inconvenience traveling to a district away from their home,
                                        22 and it transferred the case to the defendant’s home district. The Court also
                                        23 observed that the inconvenience that justifies a transfer under section 1404(a) may
                                        24 be much less than the inconvenience that is necessary for forum non conveniens.
                                        25 Id. at *3.
                                        26         In Stock v. Xerox Corp., No. SACV-15-01747, 2016 WL 5867436 (C.D. Cal.
                                        27 Apr. 13, 2016), this Court adopted the reasoning and language of another case of
                                        28
                                              CLOUDFLARE’S REPLY ISO MOTION TO         2              CASE NO. 2:18-CV-09453-MWF-AS
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                                         1 this District:
                                         2                  “[D]eference to the plaintiff's choice of forum is diminished if
                                         3                  the moving party establishes one or more of the following
                                         4                  factors: (1) the operative facts have not occurred within the
                                         5                  forum; (2) the forum has no particular interest in the parties or
                                         6                  subject matter; (3) the forum is not the primary residence of
                                         7                  either the plaintiff or defendant; or (4) the subject matter of the
                                         8                  litigation is not substantially connected to the forum.”
                                         9 2016 WL 5867436 at *4 (quoting Catch Curve, Inc. v. Venali, Inc., No. CV 05-
                                        10 04820 DDP AJWX, 2006 WL 4568799, at *2 (C.D. Cal. Feb. 27, 2006)). The
                                        11 Court transferred the case to where the defendant maintained its operations and
                                        12 where most of witnesses resided, noting that the plaintiff’s contact with the Central
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                                        13 District was “tenuous at best” and deserved “little deference.” Id. at *4.
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                                        14          In Monolithic Power Sys., Inc. v. Silergy Corp., No. 13-8122, 2014 WL
                                        15 12586380 at *1 (C.D. Cal. Apr. 14, 2014), the Court granted a defendant’s motion
                                        16 to transfer an infringement case to the Northern District of California, observing
                                        17 that typically courts do not defer to a plaintiff’s choice of forum when the operative
                                        18 facts have not occurred in the district, the district has no interest in the suit, and
                                        19 plaintiff is outside its home forum. The Court also noted that plaintiff (like the
                                        20 plaintiffs here) was unable to name any potential witnesses for whom the Central
                                        21 District would be a more convenient venue. Id. at *2. Only the plaintiff’s choice of
                                        22 district weighed against transfer, as here, yet the Court transferred the case.
                                        23          Prominent treatises support this Court’s transfer of cases like this one.
                                        24 Wright and Miller, for example, state that a plaintiff’s forum choice deserves little
                                        25 deference where the plaintiff is not a resident and the district has no obvious
                                        26 connection to the case. 15 Wright, Miller and Cooper, Federal Practice and
                                        27 Procedure § 3848 at 375. A transfer to a corporate defendant’s place of business is
                                        28
                                              CLOUDFLARE’S REPLY ISO MOTION TO            3              CASE NO. 2:18-CV-09453-MWF-AS
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                                         1 particularly appropriate in copyright infringement cases. Id. § 3849.
                                         2 II.     PLAINTIFFS OFFER NO FACTS TO CONTRADICT THE
                                         3         CONVENIENCE AND THE INTEREST-OF-JUSTICE FACTORS
                                         4         FAVORING TRANSFER TO THE NORTHERN DISTRICT.
                                         5         In the face of all the authority of this Court and District transferring cases
                                         6 away from a plaintiff’s choice of forum, the plaintiffs have nothing to offer.
                                         7         The plaintiffs do not discuss any witnesses other than the witnesses that
                                         8 Cloudflare identified, all of whom are in the Northern District of California. The
                                         9 plaintiffs do not refer to their own witnesses, and they do not identify any third-
                                        10 party witnesses whose convenience would be relevant to the motion.
                                        11         The plaintiffs do not identify any contacts that they have with this District.
                                        12         The plaintiffs do not identify any reason they filed the lawsuit in this District.
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                                        13 (The reason, however, is obvious from their numerous references to a closed case
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                                        14 that an unrelated party, ALS Scan, brought against Cloudflare, which is irrelevant
                                        15 to consideration of transfer of this case.)
                                        16         The plaintiffs do not identify any facts in the litigation that pertain to this
                                        17 District. While the plaintiffs mention that one of Cloudflare’s 150+ automated data
                                        18 centers is in Los Angeles, that point is irrelevant. There is no debate here about
                                        19 personal jurisdiction or proper venue. The question, instead, is the convenience of
                                        20 parties and witnesses under 28 U.S.C. § 1404(a). As Cloudflare showed in its
                                        21 opening papers, it has no witnesses or evidence in this District; they are all in the
                                        22 Northern District of California.
                                        23         This Court previously rejected an argument like the plaintiffs’ here. In Free-
                                        24 Flow Packaging, the plaintiff argued that the presence of one of the defendant’s
                                        25 three US sales offices made venue more convenient in this District. The Court
                                        26 noted the strength of the plaintiff’s “quantitative” argument (distinguishing one of
                                        27 three locations as different from a situation where the venue was one of 50 or more
                                        28
                                              CLOUDFLARE’S REPLY ISO MOTION TO           4              CASE NO. 2:18-CV-09453-MWF-AS
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                                         1 similar locations, which is much more like this case) but focused on the “center of
                                         2 gravity” of the conduct underlying the alleged infringement. That center of gravity
                                         3 was where the research, development, and manufacturing of allegedly infringing
                                         4 products occurred. Id. at *5-*6. The reasoning of that case calls for transfer of this
                                         5 case: Cloudflare has merely one data center in Los Angeles out of its 150+ data
                                         6 centers, and all Cloudflare’s operations relevant to the case (including its
                                         7 engineering, customer support, and trust-and-safety teams) are in San Francisco.
                                         8 The “center of gravity” is indisputably in the Northern District of California.
                                         9         The plaintiffs do not assert any inconvenience to them from transfer of the
                                        10 case to the Northern District of California. The plaintiffs show that they can take
                                        11 depositions in San Francisco, revealing that they have no problems going to San
                                        12 Francisco for proceedings in the case. Opp. at 7:14-15.
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                                        13         The plaintiffs falsely suggest that this District is “home turf” to Cloudflare
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                                        14 just because this District is in the same state as the Northern District. Opp. at 7:10-
                                        15 11. The question is not what state is appropriate for the litigation, but what district
                                        16 is appropriate.
                                        17         The plaintiffs concede that witnesses will be inconvenienced and forced to
                                        18 travel for trial, but they trivialize the inconvenience. Opp. at 7:12-17. Why do they
                                        19 consider the inconvenience to be small? They provide a telling answer: the
                                        20 inconvenience will burden Cloudflare and its witnesses “only . . . in the event of a
                                        21 trial.” Id. They suggest the uncertainty of a trial twice in four lines in the brief.
                                        22 See id. Only the possibility that no trial will occur appears to make the
                                        23 inconvenience to witnesses small. See id. at 7:12-14. That is a nonsensical
                                        24 approach to the question of inconvenience of litigation.
                                        25         The plaintiffs also discount the inconvenience of the central witnesses,
                                        26 resident in San Francisco, by arguing that they are Cloudflare employees and not
                                        27 unrelated witnesses. But section 1404(a) refers expressly to the convenience of
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                                              CLOUDFLARE’S REPLY ISO MOTION TO          5             CASE NO. 2:18-CV-09453-MWF-AS
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                                         1 parties and witnesses, and there is no reason to discount the inconvenience to both
                                         2 Cloudflare and its witnesses from the need for employees to travel away from
                                         3 home, likely for several days, for trial. Moreover, the plaintiffs do not identify any
                                         4 other witnesses or discuss the relative convenience of the forums to them.
                                         5           Section 1404(a) calls for a balancing of the convenience of the parties and
                                         6 the witnesses in the interest of justice. The plaintiffs have only an artificial desire
                                         7 to litigate here, and countless cases say that is not enough. On every relevant
                                         8 criterion of convenience and the interests of justice, the plaintiffs cannot contradict
                                         9 the manifest balancing of considerations that favors transfer:
                                        10
                                        11   Do the parties reside or      No, favoring transfer to N.D. Cal., where
                                        12   have significant contacts Cloudflare resides. Plaintiffs identified no contacts,
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                                        13   here?                         and they conceded (Opp. at 6:13-14) that their
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                                        14                                 contacts do not favor this District.
                                        15   Does the case have a          No, favoring transfer to N.D. Cal., the center of
                                        16   factual connection here? gravity of Cloudflare’s operations that are relevant
                                        17                                 to the case. Plaintiffs identified no factual
                                        18                                 connection of this case with the District other than
                                        19                                 (a) the presence of only one of Cloudflare’s 150+
                                        20                                 data centers and (b) a closed case by another
                                        21                                 plaintiff, to which this case is unrelated.
                                        22   Are there differences in      Yes for Cloudflare and no for the plaintiffs,
                                        23   cost of litigation in the     favoring transfer: litigating here imposes
                                        24   two different forums?         substantial additional expenses for Cloudflare, while
                                        25                                 transfer would not make a difference in litigation
                                        26                                 cost to the plaintiffs.
                                        27
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                                              CLOUDFLARE’S REPLY ISO MOTION TO           6              CASE NO. 2:18-CV-09453-MWF-AS
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                                          1
                                              Is there different ease of Yes for Cloudflare and no for the plaintiffs,
                                          2
                                              access to sources of        favoring transfer: all Cloudflare’s records and its
                                          3
                                              proof in the two            witnesses are in N.D. Cal. Plaintiffs have identified
                                          4
                                              different forums?           no sources of proof (including witnesses) or their
                                          5
                                                                          locations.
                                          6
                                              Does transfer affect        Yes, favoring transfer to N.D. Cal., which is more
                                          7
                                              convenience to              convenient for Cloudflare’s witnesses who reside
                                          8
                                              witnesses?                  there. Plaintiffs identified no witnesses.
                                          9
                                              Does transfer affect        Yes, favoring transfer to N.D. Cal., where
                                         10
                                              convenience to parties?     Cloudflare’s headquarters and management are; it
                                         11
                                                                          makes no difference to the Utah- and New Jersey-
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                                                                          based plaintiffs.
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                                              What does the interest      The interest of justice calls for transfer to avoid
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                                              of justice call for?        the plaintiffs’ forum shopping; N.D. Cal. is capable
                                         15
                                                                          of adjudicating the case; timelines are not materially
                                         16
                                                                          different; and C.D. Cal. has a judicial emergency.
                                         17
                                         18         Because the plaintiffs have offered no relevant facts to oppose Cloudflare’s
                                         19 motion, the Court should grant the motion and transfer the case to the Northern
                                         20 District of California.
                                         21         For all these reasons, the Court should grant Cloudflare’s motion and direct
                                         22 the Clerk to transfer the case to the Northern District of California.
                                         23 Dated: February 21, 2019                   FENWICK & WEST LLP
                                         24
                                                                                       By: /s/ Andrew P. Bridges
                                         25                                                Andrew P. Bridges
                                         26                                            Attorneys for Defendant
                                                                                       CLOUDFLARE, INC.
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                                               CLOUDFLARE’S REPLY ISO MOTION TO           7            CASE NO. 2:18-CV-09453-MWF-AS
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                                          1                           CERTIFICATE OF SERVICE
                                          2        I certify that on, February 21, 2019, I caused the Court’s CM/ECF electronic
                                          3 filing system to serve this document upon all counsel of record.
                                          4
                                          5                                        By: /s/ Andrew P. Bridges
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